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                                  Nos. 23-2234(L), 23-2241(M)

                        UNITED STATES COURT OF APPEALS
                            FOR THE FOURTH CIRCUIT

                                   HANAN ELATR KHASHOGGI,
                                                     Plaintiff-Appellant-
                                                     Cross-Appellee,
                                                v.

                           NSO GROUP TECHNOLOGIES LIMITED;
                            Q CYBER TECHNOLOGIES LIMITED,
                                                  Defendants-Appellees-
                                                  Cross-Appellants.
                                       ________________

           On Appeal from the United States District Court Eastern District of
            Virginia, No. 1:23-cv-00779-LMB-LRV, Hon. Leonie M. Brinkema
                                    ________________
                      OPENING/RESPONSE BRIEF
             FOR DEFENDANTS-APPELLEES-CROSS-APPELLANTS
                                       -- REDACTED --
                                       ________________
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         May 22, 2024
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                        CORPORATE DISCLOSURE STATEMENT

              As required by Circuit Rule 26.1, Appellees/Cross-Appellants NSO

        Group Technologies Limited and Q Cyber Technologies Limited filed

        their Disclosure Statement on December 12, 2023. ECF 7.
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                    UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT

                                          DISCLOSURE STATEMENT

        x    In civil, agency, bankruptcy, and mandamus cases, a disclosure statement must be filed by all
             parties, with the following exceptions: (1) the United States is not required to file a disclosure
             statement; (2) an indigent party is not required to file a disclosure statement; and (3) a state
             or local government is not required to file a disclosure statement in pro se cases. (All parties
             to the action in the district court are considered parties to a mandamus case.)
        x    In criminal and post-conviction cases, a corporate defendant must file a disclosure statement.
        x    In criminal cases, the United States must file a disclosure statement if there was an
             organizational victim of the alleged criminal activity. (See question 7.)
        x    Any corporate amicus curiae must file a disclosure statement.
        x    Counsel has a continuing duty to update the disclosure statement.
        Nos. 23-2234(L), 23-2241(M)
                                   Caption: __________________________________________________
                                            Hanan Khashoggi v. NSO Group Technologies Limited

        Pursuant to FRAP 26.1 and Local Rule 26.1,

        ______________________________________________________________________________
        NSO Group Technologies Limited and Q Cyber Technologies Limited
        (name of party/amicus)

        ______________________________________________________________________________

         who is _______________________,
                 Appellees/Cross-Appellants makes the following disclosure:
        (appellant/appellee/petitioner/respondent/amicus/intervenor)


        1.      Is party/amicus a publicly held corporation or other publicly held entity?        YES ✔ NO


        2.      Does party/amicus have any parent corporations?                                ✔ YES      NO
                If yes, identify all parent corporations, including all generations of parent corporations:

                 NSO Group Technologies Ltd. is a privately owned corporation whose parent company is Q
                 Cyber Technologies Limited, a privately owned corporation whose parent company is OSY
                 Technologies S.à.r.l.


        3.      Is 10% or more of the stock of a party/amicus owned by a publicly held corporation or
                other publicly held entity?                                                 YES ✔ NO
                If yes, identify all such owners:




        12/01/2019 SCC                                   -1-
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        4.    Is there any other publicly held corporation or other publicly held entity that has a direct
              financial interest in the outcome of the litigation?                              YES ✔ NO
              If yes, identify entity and nature of interest:




        5.    Is party a trade association? (amici curiae do not complete this question)     YES ✔ NO
              If yes, identify any publicly held member whose stock or equity value could be affected
              substantially by the outcome of the proceeding or whose claims the trade association is
              pursuing in a representative capacity, or state that there is no such member:




        6.    Does this case arise out of a bankruptcy proceeding?                                   YES ✔ NO
              If yes, the debtor, the trustee, or the appellant (if neither the debtor nor the trustee is a
              party) must list (1) the members of any creditors’ committee, (2) each debtor (if not in the
              caption), and (3) if a debtor is a corporation, the parent corporation and any publicly held
              corporation that owns 10% or more of the stock of the debtor.




        7.    Is this a criminal case in which there was an organizational victim?                YES ✔ NO
              If yes, the United States, absent good cause shown, must list (1) each organizational
              victim of the criminal activity and (2) if an organizational victim is a corporation, the
              parent corporation and any publicly held corporation that owns 10% or more of the stock
              of victim, to the extent that information can be obtained through due diligence.




                   /s/Ashley C. Parrish
        Signature: ____________________________________                     Date: ___________________
                                                                                        5/22/2024

                     Appellees/Cross-Appellants
        Counsel for: __________________________________




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                                    INTRODUCTION

              Plaintiff Hanan Elatr Khashoggi contends that she was the victim

        of Saudi Arabia’s and the United Arab Emirates’ alleged persecution of

        the activist journalist Jamal Khashoggi. She alleges that the Saudi and

        UAE governments tried to monitor her communications with Mr.

        Khashoggi by installing on her mobile devices a technology manufactured

        by certain Israeli defense-technology manufacturers (collectively,

        “NSO”), who she has named as defendants in this action. That

        technology, called Pegasus, is essentially a high-tech wiretap that allows

        NSO’s customers—who are always and exclusively vetted foreign

        governments and their agencies—to conduct law-enforcement and

        counterterrorism investigations. Plaintiff alleges that the UAE, acting on

        Saudi Arabia’s behalf and in violation of its licensing agreement with

        NSO, misused Pegasus to monitor her phones while she was living in or

        visiting Dubai.

              Plaintiff does not, however, sue Saudi Arabia or the UAE for her

        alleged harms. She plainly could not do so here, since those governments

        would be immune from suit as foreign sovereigns. So she sued NSO

        instead, claiming NSO should be liable for the UAE’s alleged misuse of
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        Pegasus. But all NSO did was design Pegasus in Israel and then allegedly

        license Pegasus to the UAE. NSO had no knowledge that the UAE

        planned to misuse Pegasus to monitor Plaintiff’s phones, as Plaintiff

        alleges. And once NSO licenses Pegasus to a foreign government, it plays

        no role in that government’s uses of Pegasus. Just as a wiretap

        manufacturer does not itself listen to drug dealers’ phone calls, and

        Lockheed Martin does not itself launch missiles, NSO itself does not

        install Pegasus on anyone’s phone or access anyone’s communications.

        And sure enough, Plaintiff’s complaint does not allege that NSO played

        any role in installing Pegasus on her phones or intercepting her

        communications. She alleges only that the UAE or Saudi Arabia did so.

              The district court correctly held that NSO cannot be sued in

        Virginia for the UAE’s and Saudi Arabia’s alleged conduct. The district

        court based its decision on a finding that Virginia courts cannot exercise

        personal jurisdiction over NSO. Plaintiff sued NSO in Virginia because

        she currently lives there, but she alleges no facts plausibly establishing

        that NSO directed any case-related conduct toward Virginia. First,

        Plaintiff does not allege that her phones were ever accessed in Virginia.

        She contends that she moved to Virginia no earlier than June 2018, after



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        the UAE allegedly tried to install Pegasus on her phones, and she never

        alleges that her phones were accessed in Virginia after that date. Nor

        could she, as undisputed evidence establishes that Pegasus cannot be

        used to monitor U.S. phone numbers or phones within the United States.

        Second, Plaintiff alleges that her phones were accessed only by the UAE

        or Saudi Arabia, not by NSO. She pleads no basis to attribute those third-

        party government’s actions to NSO for purposes of personal jurisdiction.

        NSO’s only alleged conduct—licensing Pegasus to the UAE—occurred

        overseas and had no connection to Virginia.

              In any event, even if Plaintiff had alleged that NSO directed some

        case-related action toward Virginia, exercising personal jurisdiction over

        NSO would still be constitutionally unreasonable. As the district court

        found and Plaintiff does not dispute, NSO would be severely burdened by

        litigation in Virginia. It has no operations, offices, employees, witnesses,

        or evidence in Virginia, and it is subject to strict restrictions under Israeli

        law that would hamper its ability to participate in discovery or defend

        itself at trial. Any convenience to Plaintiff from litigating in Virginia

        cannot overcome these burdens.




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              For these reasons, this Court can and should affirm the district

        court’s dismissal for lack of personal jurisdiction.

              If the Court does not affirm for lack of personal jurisdiction, it

        should still affirm because there is no subject-matter jurisdiction. NSO is

        immune from suit under the common-law doctrine of conduct-based

        foreign sovereign immunity. To the extent Plaintiff contends that NSO

        played any role in the alleged monitoring of her phones, she alleges that

        it acted entirely as the agent of the UAE or Saudi Arabia. This Court has

        held that such agents of foreign governments are immune from suit.

        NSO’s immunity, which the district court erroneously rejected based on

        nonbinding cases that conflict with this Court’s precedent, provides an

        alternative basis for affirming the dismissal of Plaintiff’s complaint.

                          JURISDICTIONAL STATEMENT

              The district court lacked subject-matter jurisdiction over this action

        because NSO is immune from suit under the common-law doctrine of

        conduct-based foreign sovereign immunity. See Butters v. Vance Int’l,

        Inc., 225 F.3d 462, 465-66 (4th Cir. 2000). The district court nonetheless

        asserted jurisdiction under 28 U.S.C. §§ 1331 and 1367(a), and properly




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        dismissed for lack of personal jurisdiction. This Court has appellate

        jurisdiction under 28 U.S.C. § 1291.

                                  STATEMENT OF ISSUES

              1.   Whether the district court correctly dismissed Plaintiff’s

        complaint for lack of personal jurisdiction because Plaintiff pleads no

        facts establishing that the foreign Defendants directed any alleged case-

        related conduct at Virginia.

              2.   Whether the district court erred in concluding that NSO is not

        entitled to conduct-based foreign sovereign immunity when Plaintiff

        alleges that the Defendants acted exclusively as an agent of foreign

        governments, which this Court held confers immunity in Butters v. Vance

        International, Inc., 225 F.3d 462 (4th Cir. 2000).

                                  STATEMENT OF CASE

              A.   NSO’s technology and its use in preventing terrorism
                   and other serious crimes.

              Defendant NSO is an Israeli company that designs, markets, and

        licenses a highly regulated cyber-security technology—known as

        “Pegasus”—exclusively to vetted foreign governments to assist in the

        investigation and prevention of terrorism and other serious crimes. JA11,

        JA93-95. Defendant Q Cyber, also an Israeli company, is NSO’s sole



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        shareholder. JA11, JA93. The Israeli government strictly monitors and

        regulates the sale and export of NSO’s Pegasus technology via Israel’s

        Defense Export Control Law, and the Israeli Ministry of Defense

        determines the government agencies to which NSO may market or

        license its technology. JA94-95, JA98-129.

              This lawsuit arises out of an alleged misuse of NSO’s Pegasus

        technology. NSO does not, however, operate Pegasus—instead, NSO

        licenses the technology to foreign government agencies and installs the

        system for its clients’ use. JA14, JA16-17, JA94-95. In short, NSO’s

        government customers, not NSO, operate the technology and make all

        the decisions about how to do so. JA94-95. NSO generally has no

        knowledge of who its customers monitor and no access to the information

        that its customers collect. JA95-96. Moreover, NSO designs its

        technology solely for governments to use in investigating and preventing

        terrorism and other serious crimes—not unlike investigatory wiretaps on

        which the United States and other Western democracies lawfully rely. 1



           1 See Dov Lieber et al., Police Tracked a Terror Suspect—Until His

        Phone Went Dark After a Facebook Warning, Wall St. J. (Jan. 2, 2020),
        https://on.wsj.com/38uXk5s (discussing European democracies’ use of
        NSO’s technology to investigate Islamic State terrorists).


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        Governments and their agencies have successfully used NSO’s

        technology to thwart major terrorist attacks, identify and capture child

        sex abusers, break up criminal organizations and drug trafficking rings,

        and free kidnapping and human trafficking victims. 2

              NSO’s license agreements prohibit its government customers from

        using the technology for any purpose other than the prevention and

        investigation of terrorism and criminal activity. JA94. If a foreign

        government were to misuse the technology beyond those purposes, it

        would do so in violation of its contract with NSO. JA94. NSO has also

        voluntarily undertaken additional steps to ensure that foreign

        governments use the Pegasus technology responsibly, including

        committing itself to the authoritative international standards of the

        United Nations’ 2011 and 2023 Guiding Principles on Business and

        Human Rights and the Organization for Economic Cooperation and

        Development’s Guidelines for Multinational Enterprises. See NSO

        Transparency Report at 9. Consistent with those standards, NSO



           2 NSO Grp., Transparency and Responsibility Report 2023 at 7-8 (Dec.

        31, 2023) (“NSO Transparency Report”), available at https://www.nso
        group.com/wp-content/uploads/2023/12/2023-Transparency-and-
        Responsibility-Report.pdf.


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        conducts due diligence on all potential customers by, for example,

        examining publicly available information, evaluating questionnaires,

        and considering the potential customer’s record of respecting rule-of-law

        concerns. JA95. NSO will not license its technology until it completes this

        due diligence review to NSO’s satisfaction. JA95.

              NSO’s Pegasus technology is equipped with technical safeguards,

        such as general and customer-specific geographic limitations. JA95. As

        pertinent here, NSO’s Pegasus technology cannot be used against U.S.

        mobile phone numbers or devices within the geographic bounds of the

        United States. JA95.

              B.   Israeli and foreign regulation of NSO’s exports and
                   operations.

              The Israeli government strictly monitors and regulates NSO’s

        activities with respect to Pegasus. JA93. Israel’s Defense Export Control

        Law prohibits the distribution of “defense know how”—including

        information about Pegasus—outside Israel without a license from the

        Israeli government. JA93-94, JA98-129. The licensing process requires

        NSO to provide the Israeli Ministry of Defense with documents and

        information about NSO’s prospective customers, the technology

        requested for export, and the intended uses for Pegasus (to confirm the


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        technology will only be used to investigate and prevent terrorism and

        criminal activity). JA93-94. Israel’s Defense Export Control Law also

        empowers the Israeli Ministry of Defense to investigate NSO and its

        business, refuse or cancel NSO’s registration as an exporter, grant or

        deny NSO’s license (considering factors such as the intended use of NSO’s

        technology and the identity of its customers), and revoke NSO’s licenses

        entirely. JA93-94.

              On July 19, 2020,




                  JA213.




        JA213, JA216-219 (quotation marks omitted).



                                         JA213, JA220-222.



                                                        JA220.




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                JA220.



                         JA213.

              Separately, on November 4, 2021, the U.S. Department of

        Commerce restricted U.S. exports to NSO. See 15 C.F.R. § 744, Supp. 4.

        The Department’s Bureau of Industry and Security (“the Bureau”)

        entered NSO on its “Entity List,” which prohibits any U.S. entity from

        exporting to NSO items subject to Export Administration Regulations.

        See id.; JA16. Under the governing regulations, “items” include

        hardware, software, technology, and related technical information that

        is currently located in—or comes into—the United States. 15 C.F.R.

        §§ 734.3(a)(1), 772.1. The Bureau may grant licenses authorizing the

        transfer of items to NSO otherwise subject to the regulations, but it has

        indicated that licenses requested for NSO will be subject to a

        presumption of denial. Id. § 744, Supp. 4.

              In early 2023, NSO and its defense counsel sought export licenses

        from both the Israeli and U.S. governments. On February 21, 2023, King

        & Spalding applied to the Bureau for an export license so that it could

        discuss information about NSO’s technology with NSO and prepare



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        NSO’s U.S. litigation defense. JA130. The Bureau returned the license

        application without action. JA130. King & Spalding’s subsequent

        discussions with the Bureau have not resulted in a license grant. JA130.

        On June 8, 2023, NSO applied to the Israeli Ministry of Defense for a

        license to export certain information related to Pegasus. JA96. To date,

        the Ministry has not granted NSO’s request beyond limited disclosures

        to NSO’s counsel of record, King & Spalding LLP. JA96.

              The

              in late July 2023. JA213-214.

                                                            . JA223-226. First,



                                                JA224. Second,




                                                               JA224-225. Third,




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        JA225. And NSO

                                                                       . JA225-226.

               C.   Plaintiff’s allegations of the UAE’s “misuse” of NSO
                    technology.

               Plaintiff is an Egyptian citizen and currently a resident of the

        United States. JA9. She claims that Saudi Arabia and the UAE

        monitored her with Pegasus due to her relationship with Jamal

        Khashoggi, a deceased journalist and critic of the Saudi government.

        JA9.

               Plaintiff, who previously lived in Dubai, worked as a flight

        attendant for Emirates Airlines for nearly 20 years, JA10, JA145. After

        meeting Mr. Khashoggi abroad and maintaining a friendship for nearly

        a decade, Plaintiff allegedly married Mr. Khashoggi in a religious (but

        not civil) ceremony in Virginia in June 2018. JA10. In October 2018, Mr.

        Khashoggi traveled to the Saudi consulate in Istanbul, Turkey, to collect

        documentation necessary to be married civilly to another woman, Hatice

        Cengiz. Cengiz v. Salman, 2022 WL 17475400, at *2 (D.D.C. Dec. 6,

        2022). The Saudi government knew Mr. Khashoggi would be at the

        consulate because it instructed him to apply for the required documents

        there and because Mr. Khashoggi informed high-ranking Saudi officials


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        before arranging his visit. Id. at *2-3. While Mr. Khashoggi was at the

        consulate, Saudi agents—supposedly “assisted by allies in the [UAE]”—

        are alleged to have kidnapped and murdered him. JA9, JA34-35.

              Plaintiff maintains that NSO bears responsibility for Mr.

        Khashoggi’s death because NSO licensed its Pegasus technology to the

        UAE, which she alleges worked with Saudi Arabia to monitor her private

        communications with Mr. Khashoggi. JA26-35.

              More specifically, Plaintiff alleges that “an agency of the UAE” sent

        her “a text message” containing “a disabled Pegasus link” in November

        2017. JA30. Because the link was “disabled,” however, Plaintiff does

        not—and cannot—allege that Pegasus was actually installed on any of

        her devices as a result of the UAE’s text messages. 3 Instead, Plaintiff

        contends that, in April 2018, she received “more malicious text messages”

        and was later “detained” in Dubai by “Emerati intelligence officers” who

        “manually installed” Pegasus “onto at least one of her phones.” JA31.



           3 According to public reporting Plaintiff incorporated in her complaint,

        “[a] forensic analysis of [her] Android phone … did not confirm whether
        the device had been successfully infected.” Stephanie Kirchgaessner,
        Saudis behind NSO spyware attack on Jamal Khashoggi’s family, leak
        suggests, Guardian (July 18, 2021), https://tinyurl.com/3fms4j32 (cited at
        JA35).


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         June-Oct. 2018    Plaintiff travels “often,” while her Dubai
                           communications with Mr.
                           Khashoggi are allegedly
                           “available to”—though not
                           necessarily accessed by—the
                           UAE. JA32-36.
         October 2018      Mr. Khashoggi is killed (JA34),         Virginia
                           and Plaintiff moves to Virginia
                           after his death, JA145-147.

              D.   Procedural Background

              Plaintiff filed this lawsuit against NSO in June 2023, asserting

        claims under the federal Computer Fraud and Abuse Act, the Virginia

        Computer Crimes Act, and Virginia tort law. JA7-88. NSO moved to

        dismiss on multiple distinct grounds: (1) the district court lacked subject-

        matter jurisdiction because NSO is immune from suit for actions that it

        allegedly took on behalf of foreign governments; (2) the district court

        lacked personal jurisdiction over NSO; (3) the act of state doctrine bars

        Plaintiff’s claims; (4) Virginia was an improper forum under the doctrine

        of forum non conveniens; (5) Plaintiff’s CFAA claim was time-barred; and

        (6) the Complaint did not state any claim for relief. Dkt. 26.

              The district court granted NSO’s motion. JA180. Although the court

        rejected NSO’s immunity argument, it agreed that it could not exercise

        personal jurisdiction over NSO. JA187-202. It found that Plaintiff had



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        not made “any non-conclusory allegations regarding how long and where

        [she] had been living in [Virginia], and how NSO specifically participated

        in the surveillance of her phones while she was in Virginia, as opposed to

        conduct that may have occurred while she was overseas or traveling for

        work.” JA194. In addition, the court determined that even if Plaintiff had

        alleged “that Pegasus was installed on her phones while she was in

        Virginia, or that Pegasus captured data from her phones while she was

        in Virginia,” her own allegations established that “those actions were

        carried out by” the UAE or Saudi Arabia, not by NSO. JA195. As a result,

        the court concluded, Plaintiff had not adequately alleged that NSO

        “purposefully aimed its conduct at [P]laintiff in Virginia.” JA197-198.

        The Court also held that exercising personal jurisdiction over NSO in

        Virginia would not be “constitutionally reasonable.” JA200-201.

              In the district court, Plaintiff never raised the argument she now

        presses on appeal—that “the place where unlawful interception of

        electronic data occurs is where the data is first captured and rerouted.”

        Opening Br. 27 (emphasis omitted). To the contrary, “[w]hen asked in

        open court about how long [P]laintiff was living in Virginia,” her counsel

        “was unable to link specific dates to specific alleged conduct by NSO.”



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        JA195. Plaintiff argued only that her allegations “l[eft] open the

        ‘possibility’ that NSO Group purposefully targeted [P]laintiff while she

        was in Virginia.” JA197; see JA158, JA160-161. As the district court

        recognized, “‘possibility’ is precisely the wrong standard” for personal

        jurisdiction. JA197. It held that because “Plaintiff does not plausibly

        allege any specific Virginia-related conduct by NSO,” personal

        jurisdiction did not exist. JA198. And because Plaintiff “did not request

        leave to amend,” the court dismissed her complaint with prejudice. JA203

        n.15.

                The district court did not address NSO’s other arguments for

        dismissal, but it stated that NSO raised “strong arguments that a more

        appropriate forum for this civil action would be in Israel,” that Plaintiff

        “likely fails to state claims upon which relief can be granted,” and that

        Plaintiff’s CFAA claim was “time barred.” JA181 n.2; JA202 n.14. Those

        arguments would remain available to NSO if this Court were to remand.

                Plaintiff appealed the dismissal of her complaint. JA207. NSO

        cross-appealed the district court’s rejection of NSO’s immunity

        argument. JA210.




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                             SUMMARY OF ARGUMENT

              1.   The district court correctly held that it could not exercise

        personal jurisdiction over NSO in this case. NSO “is an Israeli

        corporation, which [P]laintiff is suing because it licensed its technology

        to foreign sovereigns that [P]laintiff alleges used the technology to

        monitor her devices.” JA195. As the district court correctly found,

        Plaintiff alleges no facts plausibly suggesting that her phones were

        accessed or monitored in Virginia, let alone that NSO was responsible for

        any conduct directed toward Virginia.

              The district court correctly found that Plaintiff does not allege that

        she lived in Virginia when her phones were allegedly accessed. To the

        contrary, she argues that she moved to Virginia in June 2018—after the

        UAE allegedly tried to install Pegasus on her phone. And for the period

        after June 2018, she does not allege that her phone was ever accessed

        while she was in Virginia as opposed to during the extensive periods

        when she was traveling to foreign countries as a flight attendant. Indeed,

        the undisputed evidence—which this Court may consider on a motion to

        dismiss for personal jurisdiction—reveals that Pegasus could not have




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        been used to access Plaintiff’s phones while she was in Virginia or

        anywhere else in the United States. See JA95.

              But even if Plaintiff had alleged that her phones were accessed in

        Virginia, she does not allege that NSO was responsible. To the contrary,

        she alleges only that the UAE and Saudi Arabia used Pegasus to access

        her phones. Her allegations about NSO are only general assertions about

        actions NSO could take in the abstract, none of which reflect any

        intentional targeting of Virginia. She never alleges that NSO took any of

        those actions in this case, let alone that it purposefully directed them

        toward Virginia. The only specific action that she alleges NSO took in

        this case was licensing Pegasus to the UAE, which occurred overseas and

        has no connection to Virginia. Under controlling precedent, NSO cannot

        be haled into court in Virginia for selling a technology overseas merely

        because a third-party government later unilaterally uses the technology

        to monitor someone.

              The district court also correctly held that exercising personal

        jurisdiction over NSO would not be constitutionally reasonable. NSO, as

        a foreign entity with no operations, property, witnesses, or evidence in

        Virginia, would be subject to extreme burdens if this litigation were to



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        proceed, including onerous restrictions on discovery that would

        effectively prevent it from defending itself at trial. Moreover, this

        litigation presents severe threats to the sovereignty of Israel, which

        regulates, reviews, and approves the licensing decisions by NSO that

        Plaintiff challenges in this case. Plaintiff’s convenience cannot overcome

        those burdens.

              2.   The district court also lacked subject-matter jurisdiction over

        this lawsuit. Because Plaintiff challenges NSO for actions that she claims

        it took on behalf of the UAE and Saudi Arabia, NSO is immune from suit

        under the common-law doctrine of conduct-based (or “derivative”)

        sovereign immunity. This Court has extended that immunity to private

        entity contractors of foreign governments, and it applies with full force

        here. Butters v. Vance Int’l, Inc., 225 F.3d 462, 465-66 (4th Cir. 2000).

              The district court declined to follow Butters in light of the Ninth

        Circuit’s holding that the Foreign Sovereign Immunities Act categorically

        forecloses common-law immunity for private entities. See WhatsApp Inc.

        v. NSO Grp. Techs. Ltd., 17 F.4th 930 (9th Cir. 2021). But WhatsApp does

        not apply in this Circuit, and it is irreconcilable with this Court’s binding

        decision in Butters. It is also poorly reasoned and unpersuasive on its own



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        terms. The district court’s other ground for distinguishing Butters—that

        it applies only to American entities—is equally mistaken. Nothing in

        Butters’s text or logic excludes foreign entities from its scope, and any

        such restriction is inconsistent with the purpose of conduct-based

        immunity.

                                  STANDARD OF REVIEW

              This Court reviews a dismissal for lack of personal jurisdiction de

        novo, but it reviews “underlying factual findings for clear error.” Carefirst

        of Md., Inc. v. Carefirst Pregnancy Ctrs., Inc., 334 F.3d 390, 396 (4th Cir.

        2003). The Court reviews subject-matter jurisdiction de novo. Tillman v.

        Resolution Tr. Corp., 37 F.3d 1032, 1034 (4th Cir. 1994).

              When, as in this case, a defendant submits evidence along with a

        motion to dismiss for lack of personal or subject-matter jurisdiction, a

        court may consider that evidence and require the plaintiff to “prove the

        existence of personal jurisdiction by a preponderance of the evidence.”

        Grayson v. Anderson, 816 F.3d 262, 268-69 (4th Cir. 2016).

                                      ARGUMENT

              The district court lacked both personal jurisdiction over NSO and

        subject-matter jurisdiction over the action. The court correctly dismissed

        Plaintiff’s complaint on the former basis, but it erred in rejecting NSO’s

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        argument on the latter. Accordingly, this Court should either affirm the

        district court’s personal-jurisdiction dismissal (in Plaintiff’s appeal) or

        order dismissal for lack of subject-matter jurisdiction (in NSO’s cross-

        appeal). Either way, Plaintiff’s claims cannot proceed.

        I.    The district court correctly dismissed Plaintiff’s complaint
              for lack of personal jurisdiction.

              Plaintiff seeks to sue a foreign company for its foreign conduct in

        designing a technology that foreign countries allegedly tried to use to

        monitor Plaintiff’s devices abroad. That lawsuit does not belong in

        Virginia, as neither NSO nor its alleged suit-related conduct has any

        connection to Virginia. For that reason, the district court correctly held

        that it could not exercise personal jurisdiction over NSO.

              “A federal district court may only exercise personal jurisdiction over

        a foreign corporation if such jurisdiction is authorized by the long-arm

        statute of the state in which it sits and application of the long-arm statute

        is consistent with the due process clause of the Fourteenth Amendment.”

        Consulting Eng’rs Corp. v. Geometric Ltd., 561 F.3d 273, 277 (4th Cir.

        2009). Because “Virginia’s long-arm statute is intended to extend

        personal jurisdiction to the extent permissible under the due process

        clause,” the “constitutional inquiry” controls here. Id. And under the


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        Fourteenth Amendment, the district court could exercise personal

        jurisdiction over NSO only if NSO is subject to either general or specific

        jurisdiction in Virginia. Carefirst, 334 F.3d at 397. Because Plaintiff does

        not argue that NSO is subject to general jurisdiction in Virginia, Opening

        Br. 22, she must satisfy the requirements for specific jurisdiction. 4

               To meet that burden, Plaintiff must allege facts showing that her

        “claims arise out of” actions that NSO “purposefully directed” at Virginia.

        Consulting Eng’rs, 561 F.3d at 277-78 (cleaned up). In a case like this, in

        which Plaintiff bases her claims on alleged “Internet-based” conduct, she

        must establish that NSO “acted with the ‘manifest intent’ of targeting”

        Virginia. Carefirst, 334 F.3d at 399-400 (emphasis added) (quoting Young

        v. New Haven Advocate, 315 F.3d 256, 264 (4th Cir. 2002)).

               The district court correctly held that Plaintiff’s allegations do not

        satisfy this test because she does not allege any conduct by NSO through

        which it intentionally targeted Virginia—let alone manifestly so. The

        district court also correctly held that, even if Plaintiff had alleged



           4  Plaintiff argued below that NSO was subject to nationwide
        jurisdiction under Federal Rule of Civil Procedure 4(k)(2), but she has
        waived that argument by not raising it in her opening brief in this Court.
        E.g., In re Apex Express Corp., 190 F.3d 624, 630 n.5 (4th Cir. 1999).


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        sufficient contacts between NSO and Virginia, the exercise of specific

        jurisdiction over NSO would not be “constitutionally reasonable.”

        Consulting Eng’rs, 561 F.3d at 278. This Court should affirm those

        decisions.

              A.     NSO is not subject to specific jurisdiction in Virginia.

              The district court correctly held that Plaintiff does not allege

        “sufficient, non-conclusory facts” to establish that NSO “intentionally

        directed” any suit-related conduct toward Virginia, “knowing that its

        conduct would cause harm to a forum resident.” JA193-194 (citing Calder

        v. Jones, 465 U.S. 783 (1984)). As she did below, Plaintiff contends that

        NSO targeted Virginia “by accessing [her] devices there, obtaining her

        communications and data, and rerouting this information.” Opening

        Br. 2. But as the district court recognized, Plaintiff’s factual allegations

        do not support that conclusion. JA194-195.

                     1.    Plaintiff does not plausibly allege that her phones
                           were accessed in Virginia.

              Plaintiff does not plausibly allege that she lived in Virginia when

        her phones were allegedly accessed. The absolute earliest her allegations

        suggest she moved to Virginia is June 2018. JA10 ¶ 15; Opening Br. 25.

        That means Plaintiff did not live in Virginia when the UAE allegedly sent


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        her a “text message” containing a “disabled Pegasus link” in November

        2017. JA30 ¶¶ 101-03. She did not live in Virginia when the UAE

        allegedly sent her “more malicious text messages” in April 2018. JA31

        ¶ 105. And she did not live in Virginia when the UAE allegedly “manually

        installed” Pegasus on her phone at the Dubai airport in April 2018—

        which did not take place in Virginia anyway. JA31 ¶ 106.

              So even a generous reading of Plaintiff’s complaint allows only a

        conclusion that she did not move to Virginia until after Saudi Arabia’s

        and the UAE’s alleged case-related conduct occurred. Indeed, Plaintiff’s

        allegations clearly suggest that she did not “flee[] to the United States”

        until after the alleged “Pegasus attacks.” JA39 ¶ 145. Her “unilateral”

        choice to move to Virginia after Pegasus was allegedly installed on her

        phone cannot support specific jurisdiction. Walden v. Fiore, 571 U.S. 277,

        286 (2014); see Farmers Ins. Exch. v. Portage La Prairie Mut. Ins. Co.,

        907 F.2d 911, 913 (9th Cir. 1990) (“Only contacts occurring prior to the

        event causing the litigation may be considered.”); accord Rossman v.

        State Farm Mut. Auto. Ins. Co., 832 F.2d 282, 287 n.2 (4th Cir. 1987).

              Moreover, Plaintiff’s own statements contradict any assertion that

        she moved to Virginia in June 2018. She has publicly stated that she did



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        not move to the United States until after Mr. Khashoggi’s murder in

        October 2018, when she decided to seek asylum. JA147, JA199. The

        Court may consider those statements on a motion to dismiss for lack of

        personal jurisdiction, Grayson, 816 F.3d at 268-69, and Plaintiff has never

        submitted any contrary evidence. The record thus establishes that

        Plaintiff lived in Dubai in April 2018; traveled to Washington, D.C., in

        June 2018 to marry Mr. Khashoggi but “did not have residence in the

        U.S. at the time”; and moved to Virginia only after Mr. Khashoggi was

        killed in October 2018. JA145-147.

              That is no doubt why her argument avoids any mention of her

        actual allegations of access, which all occurred between November 2017

        and April 2018, before she moved to Virginia. See Opening Br. 25-26.

        Even after Plaintiff allegedly moved to Virginia, she “travel[ed] often”

        and was “home” only when “she was able to be.” JA32 ¶ 111. She does not

        allege that she was in Virginia at any time her phones were allegedly

        accessed. And since the undisputed evidence below was that Pegasus

        cannot be used on phones within the United States, JA95, if her phones

        ever were accessed, it must have been while she was out of the country.

        Alleged conduct that occurred outside of Virginia, even if directed toward



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        a Virginia resident, does not “connect [NSO] to the forum in a meaningful

        way.” Walden, 571 U.S. at 290. No matter when Plaintiff moved to

        Virginia, therefore, “none of [NSO’s] challenged conduct had anything to

        do with [Virginia] itself.” Id. at 289.

              Even in Plaintiff’s brief, she cannot cite a single factual allegation

        for her assertion that NSO “access[ed] [her] smartphones in Virginia.”

        Opening Br. 25. She cites her conclusory “recitals of the elements of a

        cause of action,” which “do not suffice.” Ashcroft v. Iqbal, 556 U.S. 662,

        678 (2009); see Opening Br. 23 (citing JA38-41). Moreover, with one

        exception, those allegations do not even mention Virginia. JA38-41

        ¶¶ 134-63. The one exception asserts in conclusory fashion that Plaintiff

        “liv[ed] in Virginia at the time Pegasus was installed on [her] devices,”

        JA40 ¶ 155, which Plaintiff now admits is not true. She claims Pegasus

        was installed on her phones no later than April 2018, two months before

        she says she moved to Virginia. Opening Br. 6-7. The only other

        allegation she cites is a quotation from an unnamed source asserting

        (falsely) that NSO in the abstract receives information about its

        customers’ uses of Pegasus. Opening Br. 23 (citing JA17 ¶ 46). But

        neither that allegation nor any other purports to describe anything NSO



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        did with respect to Plaintiff, let alone alleges that NSO accessed

        Plaintiff’s phones in Virginia. See Unspam Techs., Inc. v. Chernuk, 716

        F.3d 322, 329-30 (4th Cir. 2013) (holding allegations generally linking

        company to “many fraudulent prescription drug transactions” did not

        support personal jurisdiction when plaintiff did not “allege that [the

        company] was actually involved in [his] transaction”).

              Plaintiff does not allege a single fact plausibly suggesting that her

        phones were accessed in Virginia after she moved there. That is not an

        “inference against Plaintiff,” Opening Br. 26 (emphasis omitted)—it is

        recognizing the utter lack of factual allegations that could support an

        inference for Plaintiff. That is particularly true in light of NSO’s evidence

        that Pegasus cannot be used on U.S. phone numbers or within the United

        States, JA95, which Plaintiff has never contradicted. On a motion to

        dismiss for lack of personal jurisdiction, nothing precludes the district

        court or this Court from considering NSO’s undisputed evidence in light

        of Plaintiff’s failure to specifically allege that her phones were ever

        accessed in Virginia. Grayson, 816 F.3d at 268-69.

              Plaintiff’s argument that “the place where unlawful interception of

        electronic data occurs is where the data is first captured and rerouted,”



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        cannot rescue her complaint from dismissal. Opening Br. 27 (emphasis

        omitted). Plaintiff does not and cannot allege any facts establishing that

        her data was “first captured and rerouted” in Virginia as opposed to the

        UAE or any of the other locations Plaintiff traveled as a flight attendant.

        Moreover, Plaintiff waived this argument by not raising it in the district

        court. Dkts. 44, 45; JA150-179; e.g., Holland v. Big River Minerals Corp.,

        181 F.3d 597, 605 (4th Cir. 1999). It is disingenuous for Plaintiff to accuse

        the district court of “ignor[ing] authority” Plaintiff never cited. Opening

        Br. 27; cf. Puckett v. United States, 556 U.S. 129, 134 (2009) (requirement

        to preserve arguments “serves to induce the timely raising of claims and

        objections, which gives the district court the opportunity to consider and

        resolve them”).

              Plaintiff’s supposed “authority” is irrelevant anyway. Neither Luis

        v. Zang, 833 F.3d 619 (6th Cir. 2016), nor Popa v. Harriet Carter Gifts,

        Inc., 52 F.4th 121 (3d Cir. 2022), had anything to do with personal

        jurisdiction. Both addressed only the meaning of specific statutory terms

        in state and federal wiretap statutes with no application to this case.

              The plaintiff in Luis sued a technology company under the federal

        and Ohio Wiretap Acts for creating software that a jealous husband



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        installed on his wife’s computer to collect his wife’s communications with

        the plaintiff. 833 F.3d at 624. The company did not contest personal

        jurisdiction in Ohio or dispute that the software was installed on a

        computer in Ohio to collect communications received in and sent from

        Ohio. See id. at 623-24. Instead, the company argued (among other

        things)   that    only     the     husband      “intercepted”       the   plaintiff’s

        communications within the meaning of the relevant Wiretap Acts. Id. at

        633. The Sixth Circuit rejected that argument in the portion of its opinion

        that Plaintiff quotes out of context, holding that the company itself could

        be liable because its “intercept[ion] of a communication … occur[ed] at

        the point where [the software]—without any active input from the user—

        captures the communication and reroutes it to [the company’s] own

        servers.” Id. That holding thus referred to the “point” at which

        communications were intercepted temporally—that is, whether before or

        after the user took any affirmative action to use the software. It had

        nothing to do with the physical location of an interception, much less the

        creation of contacts for purposes of personal jurisdiction. 5



           5The district court ultimately granted summary judgment to the
        company, finding that it did not “intercept” any of the plaintiff’s


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              Popa, which arose on summary judgment rather than on a motion

        to dismiss, is equally irrelevant. The plaintiff there sued a website and a

        marketing service under Pennsylvania’s Wiretapping and Electronic

        Surveillance Control Act for tracking her activities on the website.

        52 F.4th at 124. The details of that tracking were fleshed out in detail by

        “testimony and evidence” in the summary judgment record. Id. at 124-

        25. The defendants argued that Pennsylvania law could not apply to their

        conduct because it occurred outside of the state. Id. at 130. The Third

        Circuit, in the portion of its opinion that Plaintiff cites, held that, under

        the particular language of the Pennsylvania statute, the interception

        occurred when the plaintiff’s “browser accessed the [defendant’s]

        website.” Id. at 130-31. That interpretation of a specific Pennsylvania

        statute has no relevance to personal jurisdiction—and even if it did, it

        would not show that Plaintiff’s own allegations establish that her phones

        were accessed in Virginia. Indeed, the Third Circuit could not determine

        from the record “where [the plaintiff’s] browser accessed the [defendant’s]

        website,” so it remanded for further factfinding on that issue. Id. at 131-



        communications, and the Sixth Circuit affirmed that decision. Luis v.
        Zang, No. 18-3707 (6th Cir. Apr. 19, 2019), ECF No. 19.


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        32. Here, by contrast, it was Plaintiff’s burden to plead facts establishing

        that her phones were accessed in Virginia in a way that would create

        specific jurisdiction over NSO, and she has not done so. That requires

        dismissal even under Plaintiff’s (erroneous) interpretation of Popa.

              Plaintiff’s reliance on irrelevant out-of-circuit cases is consistent

        with “the inaccurate way in which [her] briefing cite[d] authorities”

        below, and it “demonstrate[s]” the “weakness of [her] argument that the

        Court has personal jurisdiction over [NSO].” JA196. Plaintiff does not cite

        any case from any court exercising personal jurisdiction over a defendant

        based on allegations similar to hers. Nor does she address this Court’s

        cases governing specific jurisdiction in cases based on alleged “Internet-

        based” conduct, which require factual allegations that the defendant

        “acted with the ‘manifest intent’ of targeting” Virginia. Carefirst, 334

        F.3d at 399-400 (quoting Young, 314 F.3d at 265). Because none of

        Plaintiff’s allegations establish that she was targeted in Virginia, she

        cannot satisfy that requirement. The district court correctly dismissed

        her complaint for that reason alone.




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                   2.    Plaintiff does not plausibly allege that NSO, as
                         opposed to Saudi Arabia and the UAE, accessed
                         her phones.

              Plaintiff’s claims also fail because she alleges no facts establishing

        that NSO was responsible for accessing her phones. To the contrary, the

        only potentially relevant conduct she describes was allegedly committed

        by Saudi Arabia or the UAE, not by NSO. JA198-200 & n.11. She alleges

        that “an agency of the UAE” texted her a “disabled Pegasus link,” JA30

        ¶ 102; that “Emirati intelligence officers” manually installed Pegasus on

        her phone, JA31 ¶ 106; that “Saudi Arabia … leveraged its relationship

        with a key ally, the United Arab Emirates, to install Pegasus on her

        phones,” JA31 ¶ 108; and that her private communications were “relayed

        to the Saudis, via the UAE,” JA33 ¶ 113, and “invaded by agents of an

        authoritarian government,” JA37 ¶ 129. Therefore, the district court

        correctly concluded that Plaintiff “at best” alleges that NSO’s “Pegasus

        technology infiltrated her devices only because of intervening acts by

        third-party sovereigns.” JA199.

              Such third-party actions cannot support specific jurisdiction over

        NSO. “[I]t is the defendant, not the plaintiff or third parties, who must

        create contacts with the forum State.” Walden, 571 U.S. 277 at 291.



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        Accordingly, the “unilateral activity of … a third person is not an

        appropriate consideration when determining whether a defendant has

        sufficient contacts with a forum State to justify an assertion of

        jurisdiction.” Helicopteros Nacionales de Colombia, S.A. v. Hall, 466 U.S.

        408, 417 (1984). It must be “the defendant himself that create[s] a

        ‘substantial connection’ with the forum State.” Burger King Corp. v.

        Rudzewicz, 471 U.S. 462, 475 (1985) (quoting McGee v. Int’l Life Ins. Co.,

        355 U.S. 220, 223 (1957)); accord Fidrych v. Marriott Int’l, Inc., 952 F.3d

        124, 143 (4th Cir. 2020).

              Plaintiff pleads no basis to attribute Saudi Arabia’s and the UAE’s

        alleged conduct to NSO for purposes of specific jurisdiction. Plaintiff

        nowhere alleges that NSO knew the UAE or Saudi Arabia intended to

        monitor her (or any other Virginia resident) when NSO allegedly licensed

        Pegasus to the UAE. But even if she did, that would not support specific

        jurisdiction because a defendant’s mere knowledge that the plaintiff lives

        in the forum state is not sufficient. Walden, 571 U.S. at 289; Fidrych, 952

        F.3d at 140. As this Court has held, “a person cannot be haled into the

        forum simply because he knew that his conduct would have incidental

        effects there.” Hawkins v. i-TV Digitalis Tavkozlesi zrt., 935 F.3d 211,



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        230-31 (4th Cir. 2019). Instead, the defendant “must have ‘expressly

        aimed’ his conduct at the forum,” and “mere knowledge of an incidental

        in-forum effect falls short of express aiming.” Id. (quoting Walden, 571

        U.S. at 288 n.7).

              Likewise, Plaintiff does not allege that NSO influenced or had any

        “control over” the UAE’s and Saudi Arabia’s alleged decision to monitor

        her devices. Farrar v. McFarlane Aviation, Inc., 823 F. App’x 161, 164

        (4th Cir. 2020) (per curiam). She does not even allege that NSO assisted

        the UAE’s and Saudi Arabia’s claimed monitoring of her devices, beyond

        licensing its technology. She does not allege that NSO had any

        involvement in the UAE sending her infected text messages or installing

        Pegasus on her phone at the Dubai airport. JA30-31 ¶¶ 101-06. She

        simply asserts that NSO created the general infrastructure that allows

        Pegasus to function and that NSO, in the abstract, can assist its clients

        with set-up and technical support. Opening Br. 26-27. But NSO’s initial

        creation of Pegasus and its infrastructure has no connection to Plaintiff

        or Virginia, and Plaintiff does not allege that NSO performed any support

        operations for the UAE in connection with this case—let alone that it

        purposefully targeted those operations at Virginia.



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              In any event, the simple “act of aiding and abetting … does not

        necessarily involve the sort of ‘express aiming’ at the forum that the

        effects test requires.” Hawkins, 935 F.3d at 230-31. So even if Plaintiff

        had alleged that NSO assisted the UAE’s or Saudi Arabia’s alleged

        activities here, that still would not be enough to confer jurisdiction over

        NSO in Virginia.

              For the same reasons, Plaintiff’s allegations do not support her

        assertion that NSO itself “access[ed] [her] devices and obtain[ed] and

        rerout[ed] her information.” Opening Br. 26-27. As just explained, the

        general allegations she cites address, at most, Pegasus’s capabilities in

        the abstract. See JA17, JA67, JA69, JA70. They do not allege or suggest

        anything about what the UAE, Saudi Arabia, or NSO did in this case with

        respect to Plaintiff’s phones. Specifically, NSO’s general claim to operate

        in the fields of “cyber-intelligence, data acquisition, and analysis,” Opening

        Br. 26 (emphasis in original) (quoting JA17), does not state that NSO itself

        analyzes data (as opposed to providing its customers data-analysis tools),

        does not indicate that the analysis is part of the Pegasus technology,

        describes nothing about what the analysis entails, and does not reflect

        anything about what services NSO allegedly provided the UAE. The



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        descriptions of Pegasus’s capabilities, such as extracting calls or other

        communications and data, Opening Br. 26-27, reflect only what NSO’s

        clients can use Pegasus to do, and not what anyone allegedly in fact did

        with respect to Plaintiff’s phones. And the “anonymizing network”

        Plaintiff cites, Opening Br. 27, is part of the general Pegasus

        infrastructure, is not tied to any monitoring target or use of the

        technology, and does not provide NSO any information about targets or

        their data. It thus cannot establish purposeful direction toward any

        plaintiff or forum.

               In addition, Plaintiff mischaracterizes the statements she cites. She

        quotes one sentence from a short 2019 description of NSO, which states

        that “NSO group is a global leader in the world of cyber-intelligence, data

        acquisition, and analysis.” 6 That plainly does not say, as Plaintiff

        suggests, that NSO receives and analyses the data that its government

        customers collect using Pegasus. Instead, it is a general description of

        NSO’s entire business, of which Pegasus is only one part. And while the



           6TeleStrategies ISS World Europe, ISSWorldTraining.com (2019),
        archived in WayBackMachine (Sept. 8, 2019), https://web.archive.org/
        web/20190908051829/https://www.issworldtraining.com/iss_europe/
        sponsors.html.


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        alleged Pegasus brochure attached to Plaintiff’s complaint describes

        Pegasus’s “analysis” function, it makes clear that any analysis is

        conducted by the Pegasus user—that is, NSO’s government customer—

        not by NSO itself. JA71-72.

              Plaintiff also misquotes the alleged Pegasus brochure as claiming

        that NSO itself (as opposed to its government customers) can “obtain or

        extract the target’s communications and data.” Opening Br. 26 (citing

        JA67). That is not what the brochure says. The section Plaintiff quotes

        describes the applications (such as Skype and Viber) and categories of

        information (such as call histories and calendar information) that NSO’s

        government customers can use Pegasus to access. JA65-67. The section

        concludes by explaining that certain customers may need data from

        “other applications … as time evolves and new applications are adopted

        by targets.” JA67. Then follows the language Plaintiff quotes: “When

        such requirement is raised, we can fairly easily extract the important

        data from virtually any application upon customer demand and release

        it as a new release that will become available to a customer.” JA67. In

        context, that language clearly means only that, when required by a

        particular government’s investigatory needs, NSO can create new



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        versions of Pegasus that the government can use to access new

        applications or types of data. But “the user,” not NSO, is always “the only

        one to decide when to conduct the upgrade.” JA76. The brochure nowhere

        states that NSO itself will operate Pegasus to access any data stored on

        any target device. That is because, as NSO’s unrebutted evidence shows,

        NSO does not operate Pegasus for its government customers nor does it

        collect information for its government customers. JA94-96.

              Similarly, Plaintiff insinuates that NSO personally operates its

        “anonymizing network” for each use of Pegasus. Opening Br. 27 (quoting

        JA69-70). That is not correct. As explained above, the “anonymizing

        network” is a part of “[t]he Pegasus system,” not tied to any specific use

        of the technology. JA69; see JA57 (describing the “Pegasus system,”

        including the “Data Transmission” layer); JA79 (describing the

        anonymizing network). A Pegasus license includes the use of an

        anonymizing network, but once NSO licenses Pegasus to a customer it

        does not personally transmit or access any data over the network. JA94-

        96; see JA80 (“The above mentioned architecture allows the operators to

        issue new installations, extract, monitor and actively collect data from

        targets’ devices.” (emphasis added)). NSO’s creation of technology that its



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        government customers can later use does not constitute purposeful

        direction of conduct toward any particular forum, much less toward

        Virginia. E.g., Farrar, 823 F. App’x at 164; see also St. Jarre v.

        Heidelberger Druckmaschinen, A.G., 19 F.3d 1430, 1994 WL 95944, at *3

        (4th Cir. 1994) (per curiam) (“The exercise of personal jurisdiction over a

        foreign manufacturer, whose product reached the forum state because of

        intervening [acts] by third parties, would be unfair and unreasonable.”).

                   3.    NSO’s alleged conduct was not purposefully
                         directed toward Virginia.

              The only alleged case-related conduct that Plaintiff attributes to

        NSO has no connection to Virginia. Plaintiff alleges that NSO licensed

        its Pegasus technology to the UAE, which then allegedly used Pegasus to

        monitor Plaintiff. But that licensing transaction would have occurred

        entirely overseas, meaning NSO did not “direct[] purposeful activity

        toward [Virginia] in relation to those particular sales.” Farrar, 823 F.

        App’x at 164; see also Unspam, 716 F.3d at 328-29 (holding that foreign

        bank processing plaintiff’s purchase in a foreign country did not support

        personal jurisdiction over bank in plaintiff’s home forum of Virginia).

              The alleged licensing, moreover, would have occurred well before

        the UAE allegedly used Pegasus to monitor any specific target, including


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        Plaintiff. JA23 ¶ 75 (alleging NSO licensed Pegasus to the UAE in 2016).

        Plaintiff does not allege that NSO knew when it licensed Pegasus that

        the UAE planned to monitor Plaintiff, much less that it licensed Pegasus

        to the UAE for the purpose of monitoring Plaintiff in Virginia. She alleges

        only that NSO knew or should have known about the UAE’s alleged

        history of human rights abuses, which made her a “foreseeable victim of”

        the Pegasus “infrastructure.” JA42 ¶ 168. That cannot show that NSO,

        by allegedly licensing Pegasus to the UAE, purposefully directed any

        actions toward Virginia. E.g., Walden, 571 U.S. at 289; Fidrych, 952 F.3d

        at 140; Hawkins, 935 F.3d at 230-31.

              As the district court recognized, NSO “is an Israeli corporation,

        which [P]laintiff is suing because it licensed its technology to foreign

        sovereigns that [P]laintiff alleges used the technology to monitor her

        devices.” JA195. NSO’s only alleged role in that conduct—its Israel-

        approved decision to license its technology to the UAE—occurred

        overseas and had no connection to Virginia. Exercising personal

        jurisdiction over such “purely foreign conduct” would violate due process

        and create “serious comity concerns.” Hawkins, 935 F.3d at 231. The




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        district court correctly avoided that result by dismissing Plaintiff’s

        complaint.

              B.     Exercising personal jurisdiction over NSO in Virginia
                     would not be reasonable.

              The district court also correctly held that exercising jurisdiction

        over NSO in Virginia would not “be constitutionally reasonable.”

        Consulting Eng’rs, 561 F.3d at 278 (quotation marks omitted); JA200-

        202. That “constitutes an independent ground for dismissal,” Fed. Ins.

        Co. v. Lake Shore Inc., 886 F.2d 654, 661 (4th Cir. 1989), which this Court

        should affirm.

              The district court properly concluded that “the factors counseling

        against personal jurisdiction being constitutionally reasonable are

        substantial.” JA200. Those factors, including “(1) the burden on the

        defendant of litigating in the forum; (2) the interest of the forum state in

        adjudicating the dispute; (3) the plaintiff’s interest in obtaining

        convenient and effective relief; (4) the shared interest of the states in

        obtaining efficient resolution of disputes; and (5) the interests of the

        states in furthering substantive social policies,” Consulting Eng’rs, 561

        F.3d at 279, strongly support the district court’s decision.




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              Plaintiff does not dispute that the “burden” on NSO to litigate this

        suit in Virginia “would be considerable.” Fed. Ins., 886 F.2d at 661; see

        Opening Br. 34. As the district court found, NSO “is incorporated in

        Israel, owns no property in Virginia, and has no employees or persons

        authorized to act on its behalf in Virginia.” JA200-201; see JA93. NSO

        thus has no “evidence or witnesses in Virginia.” JA201. Any documents

        relevant to Plaintiff’s allegations would be located in Israel or other

        foreign countries, and the testimony of current and former NSO

        employees in Israel would be required to address Plaintiff’s allegations

        about NSO’s technology and operations. Similarly, evidence and

        witnesses related to Plaintiff’s alleged treatment by Saudi Arabia and the

        UAE would be located in those countries. The only Virginia witness is

        Plaintiff, and she cannot address any issues related to NSO’s, the UAE’s,

        or Saudi Arabia’s alleged conduct. Those witnesses and evidence—the

        most important in the case—would primarily be “located in Israel, Saudi

        Arabia, and the UAE.” JA201; see JA93, JA96. Courts routinely find

        personal jurisdiction unreasonable in similar circumstances. E.g.,

        Glencore Grain Rotterdam B.V. v. Shivnath Rai Harnarain Co., 284 F.3d

        1114, 1125-26 (9th Cir. 2002); Fed. Ins., 886 F.2d at 661.



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              The Israeli Defense Export Control Law                        , along

        with NSO’s presence on the Entity List, would impose substantial

        additional burdens on NSO if it were required to litigate this suit in

        Virginia. The

                                                                          . JA225.




                                                 . JA217, JA220-221, JA223-224.

                                            Israel’s Defense Export Control Law

        prohibits any Israeli citizen from “[t]ransfer[ring] … defense know-how

        through any means … from Israel to outside of Israel, or in Israel to a

        person who is neither an Israeli citizen [n]or an Israeli resident,” unless

        the Israeli citizen has “received a license for such activity.” JA114-115.

        The Defense Export Control Law defines “[d]efense know-how” as any

        “[i]nformation that is required for the development or production of

        defense equipment or its use, including information referring to design,

        assembly, inspection, upgrade and modification, training, maintenance,

        operation and repair of defense equipment or its handling in any other



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        way,” including “technical data or technical assistance.” JA100-101.

        Plaintiff’s allegations focus on information about NSO’s Pegasus

        technology that constitutes such “defense know-how.” And any testimony

        about information covered by the Defense Export Control Law cannot

        lawfully be transferred “outside of Israel.” JA114-115. Israeli witnesses

        may thus be unable to answer questions regarding NSO’s technologies if

        those questions are asked by non-Israeli attorneys or their answers are

        at risk of being exported. JA134 ¶¶ 11-12; see In re Factor VIII or IX

        Concentrate Blood Prods. Liab. Litig., 2008 WL 4866431, at *6 (N.D. Ill.

        June 4, 2008) (finding no “Israeli court [would] compel the appearance of

        an Israeli citizen for a deposition to be used in a trial to be conducted in

        the United States”). Without an export license, which NSO has not yet

        been able to obtain, the court and parties’ access to critical documents

        and witnesses in Israel would be severely curtailed.

              On the flipside, NSO’s presence on the Commerce Department’s

        Entity List would prevent U.S. individuals and entities from exporting

        various items to NSO. 15 C.F.R. § 744.11(a). The term “export” is defined

        broadly as any “transmission out of the United States … in any manner,”

        including the “electronic transmission of non-public data that will be



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        received abroad.” Id. §§ 730.5(c), 734.13(a)(1). The list of prohibited items

        includes both “software” and “technology.” Id. §§ 772.1, 734.3(a)(1).

        “Technology” broadly includes any “[i]nformation necessary for the

        ‘development,’ ‘production,’ ‘use,’ operation, installation, maintenance,

        repair, overhaul, or refurbishing … of an item.” Id. § 772.1. There is no

        exception for technology created and owned by NSO itself.

              As a result, NSO’s U.S. litigation counsel cannot communicate with

        NSO regarding NSO’s own technology—the core subject matter of this

        litigation—or share with NSO substantial amounts of discovery that

        NSO would need to refute Plaintiff’s allegations. Exports could be

        permitted with a license, but the U.S. government has indicated that any

        license application will face a “[p]resumption of denial.” Id. § 744,

        Supp. 4. In fact, King & Spalding applied for a license so that it could

        defend NSO in other U.S. litigation, and the license was not granted.

        JA130 ¶ 2. Even NSO’s e-discovery vendor was also unable to receive a

        license to provide NSO basic e-discovery technology. JA130-131 ¶ 3. In

        this age of electronic discovery, document review and production are all

        but impossible without e-discovery technology. Accordingly, if this




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        litigation were to proceed in Virginia, NSO’s counsel would be unable to

        communicate fully with its clients about the case.

              Although Plaintiff contends that her own interests favor

        jurisdiction in Virginia, Opening Br. 34, her “convenience alone cannot

        justify the heavy burden on [NSO] which the assertion of personal

        jurisdiction would impose.” Fed. Ins., 886 F.2d at 661. After all, “[d]ue

        process limits on the State’s adjudicative authority principally protect

        the liberty of the nonresident defendant—not the convenience of the

        plaintiffs or third parties.” Walden, 571 U.S. at 284; see Grizzard v. LG

        Chem Ltd., 641 F. Supp. 3d 282, 292 (E.D. Va. 2022) (finding jurisdiction

        unreasonable even though “a number of … factors may point in

        [p]laintiff’s favor”). Plaintiff’s convenience is further limited by her

        failure to allege that she lived in Virginia when her devices were

        accessed. The only connection her claims have to Virginia is that she

        happens to live there now, which does not confer on Virginia or Plaintiff

        a strong enough interest to overcome the burden on NSO.

              Any interests Virginia or Plaintiff have in this lawsuit proceeding

        in Virginia also pale in comparison to Israel’s sovereign interests. The

        Supreme Court has warned that “great care and reserve should be



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        exercised when extending our notions of personal jurisdiction into the

        international field.” Asahi Metal Indus. Co. v. Super. Ct., 480 U.S. 102,

        115 (1987) (cleaned up); accord Hawkins, 935 F.3d at 232. So “[w]here,

        as here, the defendant is from a foreign nation rather than another state,

        the sovereignty barrier is high and undermines the reasonableness of

        personal jurisdiction.” Amoco Egypt Oil Co. v. Leonis Navigation Co., 1

        F.3d 848, 852 (9th Cir. 1993).

              This lawsuit in particular threatens Israel’s interests because the

        Israeli government regulates and reviews NSO’s operations—including

        the licensing decisions that Plaintiff seeks to challenge under Virginia

        law—and details of Israel’s decisions would have to be disclosed for NSO

        to defend this action

        JA93-94, JA96, JA224-225. 7



                                                                                 .


           7 Plaintiff’s claims also threaten the sovereignty of the UAE and Saudi

        Arabia, since she challenges actions allegedly conducted or ordered by
        those countries. See Alhathloul v. DarkMatter Grp., 2023 WL 2537761,
        at *10 (D. Or. Mar. 16, 2023) (finding personal jurisdiction unreasonable
        because plaintiff’s CFAA claims based on alleged hacking “relate[d] to
        conduct carried out at the behest of the UAE government” (quotation
        marks omitted)).


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        JA217, JA220-221, JA223-224. The Israeli Defense Export Control Law

        likewise reflects a strong national-security interest in the subject matter

        of this action, and it would prohibit NSO from producing broad swaths of

        information relevant to Plaintiff’s claims. JA93-94, JA114-115.

              Plaintiff primarily relies on the nonbinding decision in WhatsApp

        Inc. v. NSO Grp. Techs. Ltd., 472 F. Supp. 3d 649 (N.D. Cal. 2020), but

        even if that decision had been correctly decided—and it was not—it does

        not support personal jurisdiction here. The court in WhatsApp exercised

        personal jurisdiction over NSO because WhatsApp alleged that NSO

        specifically targeted its California-based servers, including when it was

        researching and developing Pegasus. Id. at 670. Because WhatsApp was

        “allegedly harmed in California,” the court concluded that California had

        “a strong interest” in the suit. Id. at 677. As explained above, Plaintiff

        makes no similar allegation that NSO accessed her phones in Virginia.

        In addition, because WhatsApp had conducted its own investigation into

        NSO’s alleged access to its servers, WhatsApp had numerous “witnesses

        and evidence … located in California.” Id. at 676. Here, in contrast,

        Plaintiff is the only Virginia-based witness. All other witnesses and

        evidence are in other forums, primarily Israel, the UAE, and Saudi



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        Arabia. JA201; see also JA136 (showing Plaintiff’s declarant, Bill

        Marczak, lives in California).

              At the time the WhatsApp court issued its decision,




                            , JA217, JA220-221, JA223-224,

                                      that would hamstring NSO if this litigation

        were to proceed. Nor, at that time, had the Department of Commerce

        placed NSO on the Entity List. The WhatsApp court thus could not

        consider    those    developments,     which     drastically    reduce   the

        reasonableness of exercising jurisdiction over NSO.

              Whatever the court decided in WhatsApp, the circumstances of this

        case confirm the district court’s holding that it could not reasonably

        exercise personal jurisdiction over NSO. This Court should affirm that

        decision.

        II.   The district court lacked subject-matter                  jurisdiction
              because NSO is immune from suit.

              Although the district court correctly dismissed Plaintiff’s claims for

        lack of personal jurisdiction, the court also lacked subject-matter

        jurisdiction under the common-law doctrine of conduct-based (or


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        “derivative”) sovereign immunity. See Butters, 225 F.3d at 466. That form

        of immunity—which deprives federal courts of jurisdiction over suits

        challenging the actions taken by agents of foreign governments, Yousuf

        v. Samantar, 699 F.3d 763, 773-75 (4th Cir. 2012)—shields NSO from

        Plaintiff’s allegations. 8

               To be clear, NSO was not involved in monitoring any of Plaintiff’s

        devices. But to the extent Plaintiff claims otherwise, she alleges that

        NSO acted exclusively on behalf of Saudi Arabia and the UAE to assist

        those nations’ sovereign activities. NSO cannot be sued for that alleged

        conduct on behalf of foreign governments, and the district court erred in

        holding otherwise.

               A.   Common-law immunity protects the private agents of
                    foreign governments.

               For more than 200 years, U.S. law has conferred common-law

        immunity on the officials and other agents of foreign states. Samantar v.

        Yousuf, 560 U.S. 305, 311-12, 321 (2010); Yousuf, 699 F.3d at 774-75. This

        “conduct-based immunity” turns on the nature of the agent’s “act itself




           8This Court may affirm the district court’s personal-jurisdiction
        dismissal without reaching subject-matter jurisdiction. Ruhrgas AG v.
        Marathon Oil Co., 526 U.S. 574, 584-85 (1999).


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        and whether the act was performed on behalf of the foreign state,” not on

        the agent’s identity. Rishikof v. Mortada, 70 F. Supp. 3d 8, 13 (D.D.C.

        2014). As a result, “any act performed by the individual as an act of the

        State enjoys the immunity which the State enjoys.” Yousuf, 699 F.3d at

        774 (cleaned up).

              Consistent with conduct-based immunity’s focus on the nature of

        an agent’s act rather than on the agent’s identity, this Court has held

        that conduct-based immunity protects even private entities when they act

        as agents of foreign governments. Butters, 225 F.3d at 466. The plaintiff

        in Butters was a bodyguard whose employer had been hired by Saudi

        Arabia to protect a princess. At Saudi Arabia’s request, the employer did

        not promote the plaintiff, who sued the employer. This Court held that

        the employer was derivatively immune as the “private agent[] of [a]

        foreign government.” Id. It held, consistent with the common law, that

        “courts define the scope of sovereign immunity by the nature of the

        function being performed—not by the office or the position of the

        particular employee involved.” Id. “All sovereigns,” the Court recognized,

        “need flexibility to hire private agents to aid them in conducting

        governmental functions.” Id. Therefore, private entity “agents enjoy



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        derivative sovereign immunity when following the commands of a foreign

        sovereign employer.” Id.; see also Velasco v. Gov’t of Indonesia, 370 F.3d

        392, 398-99 (4th Cir. 2004) (recognizing Butters applied “foreign

        sovereign immunity” to agents “acting in [their] official capacity on behalf

        of a foreign state”). 9

              Butters relied in part on Alicog v. Kingdom of Saudi Arabia, 860 F.

        Supp. 379 (S.D. Tex. 1994). Two of the defendants in Alicog were private

        citizens who had been hired by Saudi Arabia to book hotel rooms and

        furnish drivers and security guards. Id. at 381. A Saudi prince ordered

        the private defendants to confine the plaintiffs, the prince’s servants, to

        the prince’s hotel. Id. at 384-85. The court held that the private

        defendants were immune for following the prince’s orders because they

        were acting as Saudi Arabia’s agents at the time. Id. The Fifth Circuit

        summarily affirmed. Alicog v. Kingdom of Saudi Arabia, 79 F.3d 1145

        (5th Cir. 1996) (Table).




           9 Although Butters arguably grounded this immunity in the Foreign

        Sovereign Immunities Act, which this Court and the Supreme Court later
        held does not govern immunity for foreign agents, it remains “instructive
        for … questions of common law immunity.” Yousuf, 699 F.3d at 774.


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              Other courts have reached the same conclusion. In Moriah v. Bank

        of China, 107 F. Supp. 3d 272 (S.D.N.Y. 2015), the court found a private

        Israeli citizen immune for actions he took “at the behest of the Israeli

        government.” Id. at 277-78. Citing Butters, the court found it “well-

        settled” that “conduct-based immunity … extends beyond current and

        former officials to individuals acting as an agent for the government.” Id.

        at 277 & n.34. And because the defendant acted at Israel’s request, he

        was immune “as an agent of the Israeli government.” Id. at 278.

        Similarly, the court in Ivey ex rel. Carolina Golf Development Co. v.

        Lynch, 2018 WL 3764264 (M.D.N.C. Aug. 8, 2018), relied on Butters to

        hold that a private attorney enjoyed common-law immunity for actions

        he took as the agent of a German official. Id. at *6-7. The court approved

        the defendant’s argument that “foreign official immunity extends to the

        private, domestic agents of foreign officials.” Id. (cleaned up).

              Applying conduct-based immunity to the private agents of foreign

        states also accords with international law, which “has shaped the

        development of the common law of foreign sovereign immunity.” Yousuf,

        699 F.3d at 773. “‘[C]ustomary international law’” has long granted

        immunity to “agent[s] for the government.” Moriah, 107 F. Supp. 3d at



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        277 (quoting Yousuf, 699 F.3d at 774); see Jones v. Ministry of Interior,

        [2006] UKHL 26 ¶ 10 (H.L.) (appeal taken from Eng. and Wales); Jaffe v.

        Miller, [1993] 95 ILR 446, 460 (Can. Ont. C.A.). Under international law,

        therefore, “[t]he acts of [government] agents constitute direct State

        conduct and cannot be attributed as private activities to the person

        authorized to perform them.” Church of Scientology Case, 65 ILR 193,

        198 (Fed. Supreme Ct., Ger. 1978). That is true even when the agent is a

        private actor under the foreign state’s laws. Id. at 197-98.

                The international community has codified this consensus about the

        scope    of conduct-based immunity in the            U.N.       Convention on

        Jurisdictional Immunities of States and their Property. U.N. General

        Assembly, Resolution Adopted by the General Assembly on 2 December

        2004, U.N. Doc. A/59/38 (Dec. 16, 2004).10 The Convention grants

        immunity to “representatives of the State acting in that capacity,”

        including “entities” that “are entitled to perform and are actually

        performing acts in the exercise of sovereign authority of the State.”




           10Available at https://treaties.un.org/doc/source/docs/A_RES_59_38-
        E.pdf.


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        United Nations Convention on Jurisdictional Immunities of States and

        Their Property, art. 2, ¶ 1(b)(iii)-(iv), 2 December 2004. 11

              B.     NSO is entitled to immunity under Butters.

              Plaintiff’s allegations trigger conduct-based immunity. Her entire

        case is based on allegations that the UAE used NSO’s technology to

        monitor her devices on behalf of Saudi Arabia. E.g., JA30-33 ¶¶ 101-03,

        106-08, 113. But “a foreign government’s deployment of clandestine

        agents to collect foreign intelligence on its behalf” is “peculiarly sovereign

        conduct” for which foreign governments are immune from suit. Broidy

        Cap. Mgmt., LLC v. Qatar, 982 F.3d 582, 595 (9th Cir. 2020). Under

        Butters, therefore, an agent who assists a foreign government’s

        surveillance operations is likewise immune. 225 F.3d at 466.

              While Plaintiff’s complaint is silent on what, if anything, NSO

        allegedly did after licensing its technology to the UAE, it is clear that

        NSO would have taken any alleged actions on behalf of the UAE or Saudi

        Arabia. When generally describing NSO’s business, Plaintiff alleges that

        NSO “assist[s]” and “support[s]” its government clients “after selling




           11 Available at https://treaties.un.org/doc/source/RecentTexts/English

        _3_13.pdf.


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        Pegasus to them.” JA17 ¶¶ 45-46; JA22 ¶¶ 66-71. And when describing

        the actual alleged access to her devices, Plaintiff alleges that her “private

        communications” were intercepted “by agents of an authoritarian

        government.” JA37 ¶ 129 (emphasis added). Plaintiff does not allege that

        NSO took any case-related action against her that was not conducted in

        its alleged role as an agent of the UAE or Saudi Arabia. For that reason,

        NSO is entitled to conduct-based immunity as an alleged “private agent[]

        of [a] foreign government.” Butters, 225 F.3d at 466.

              C.   The district court erred in denying NSO immunity.

              The district court held that NSO was not entitled to immunity

        under Butters. Instead, the district court followed the Ninth Circuit’s

        nonbinding decision in WhatsApp Inc. v. NSO Group Technologies Ltd.,

        17 F.4th 930 (9th Cir. 2021), which held that the Foreign Sovereign

        Immunities Act categorically forbids private entities from receiving

        common-law immunity. JA188-189. The court also held that Butters only

        protects American companies and does not apply to foreign agents of

        foreign governments. JA190. Each of those holdings was mistaken.




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                   1.    Butters precludes reliance on the Ninth Circuit’s
                         incorrect decision in WhatsApp.

              The district court first erred by following the Ninth Circuit’s

        decision in WhatsApp rather than Butters. Courts in this Circuit are

        bound by Butters, with which WhatsApp openly conflicts. But even if

        Butters did not foreclose reliance on WhatsApp, the Ninth Circuit’s

        decision is incorrect and unpersuasive.

              In WhatsApp, the Ninth Circuit held that no private entity can ever

        receive any form of common-law immunity. It based its decision on the

        fact that the Foreign Sovereign Immunities Act includes some state-

        owned entities within its definition of “foreign state[s]” entitled to foreign

        sovereign immunity. 28 U.S.C. § 1603(a)-(b); see 17 F.4th at 938-39. By

        doing so, the Ninth Circuit held the FSIA completely displaces common-

        law immunity for private entities: “an entity is entitled to foreign

        sovereign immunity, if at all, only under the FSIA. If an entity does not

        fall within the Act’s definition of ‘foreign state,’ it cannot claim foreign

        sovereign immunity. Period.” 17 F.4th at 937.

              The district court endorsed that holding, JA188, but it is

        irreconcilable with Butters—as the Ninth Circuit itself recognized.

        WhatsApp, 17 F.4th at 939 n.6. Butters plainly granted to private entities


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        the conduct-based immunity that “agents enjoy … when following the

        commands of a foreign sovereign employer,” a result that WhatsApp

        would forbid. Butters, 225 F.3d at 466. The Ninth Circuit thus openly

        rejected Butters as inconsistent with the proposition “that ‘any sort of

        immunity defense made by a foreign sovereign in an American court

        must stand on the Act’s text. Or it must fall.’” 17 F.4th at 939 n.6 (quoting

        Rep. of Argentina v. NML Cap., Ltd., 573 U.S. 134, 141-42 (2014)). This

        Court, however, has never overruled Butters, so it remains binding

        precedent in this Circuit. See K.I. v. Durham Pub. Schs. Bd. of Educ., 54

        F.4th 779, 790 (4th Cir. 2022) (“A three-judge panel of this Court cannot

        overrule the decision of another panel.”). The district court thus erred in

        following WhatsApp instead of Butters.

              The Ninth Circuit’s holding in WhatsApp is also unpersuasive and

        inconsistent with the Supreme Court’s decision in Samantar. As

        Samantar held, the FSIA is a specific and narrow statute that governs

        only “whether a foreign state is entitled to sovereign immunity.” 560 U.S.

        at 313 (emphasis added). Such foreign-state immunity is status-based: it

        depends on the identity of the defendant and, when it applies, is “virtually

        absolute.” Id. at 311. The FSIA’s definition of “foreign state” thus



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        incorporates entities that, because they are state-owned “agenc[ies] or

        instrumentalit[ies],” are equivalent to foreign states. Id. at 314; 28 U.S.C.

        § 1603(a)-(b). That definition limits only which entities possess near-

        categorical immunity based on their status as foreign states.

              Common-law immunity, in contrast, depends on the defendant’s

        conduct and is subject to limitations that do not apply to foreign-state

        immunity. Samantar, 560 U.S. at 321; Yousuf, 699 F.3d at 774. As

        Samantar held, the FSIA does not “supersede” such conduct-based

        immunity. 560 U.S. at 325. It “supersede[s] the common-law regime” only

        “for claims against foreign states.” Id. (emphasis added). So, when a

        plaintiff sues a defendant that is not “a foreign state as the [FSIA] defines

        that term,” the FSIA does not apply. Id. Those suits are “governed by the

        common law” alone. Id. And courts proceed “on the assumption that

        common-law principles of immunity were incorporated into our judicial

        system and that they should not be abrogated absent clear legislative

        intent to do so.” Filarsky v. Delia, 566 U.S. 377, 389 (2012) (cleaned up).

              For that reason, the Ninth Circuit and district court’s focus on the

        FSIA’s “comprehensive framework” misses the point. JA188. The FSIA is

        comprehensive only “if it applies.” Samantar, 560 U.S. at 314. And it only



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        “applies” to “‘foreign state[s],’” id., which it defines to exclude private

        entities. So while it is true that “any sort of immunity defense made by a

        foreign sovereign in an American court must stand on the FSIA’s text,”

        JA190 (cleaned up) (emphasis added), that in no way suggests that the

        FSIA overrides the common law with respect to defendants, like NSO,

        that are not “foreign sovereigns.”

              Because NSO is not a “foreign state as the [FSIA] defines that

        term,” the FSIA is simply irrelevant to whether it is entitled to immunity.

        Samantar, 560 U.S. at 325. Rather, as the D.C. Circuit has held, “claims

        of immunity” by “private entities” like NSO must “rise or fall not under

        the FSIA, but the residual law and practice that the FSIA did not

        displace.” Broidy Cap. Mgmt. LLC v. Muzin, 12 F.4th 789, 802 (D.C.

        Cir. 2021). Under Butters, that residual common law entitles NSO to

        immunity. 225 F.3d at 466.

                   2.    Butters is not limited to American companies.

              The district court further erred by holding that Butters applies only

        to American entities that serve as agents of foreign sovereigns. JA190.

        Although the agent in Butters happened to be an American company, this

        Court nowhere suggested that immunity turned on the agent’s



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        nationality. See Moriah, 107 F. Supp. 3d at 277-78 (relying on Butters to

        immunize private Israeli citizen). To the contrary, this Court recognized

        that foreign sovereigns “need flexibility to hire private agents to aid them

        in conducting their government functions.” Butters, 225 F.3d at 466.

        Conditioning immunity on whether a foreign state hired an American or

        foreign agent would limit that flexibility. And it would be quite odd for

        an immunity doctrine that protects foreign states and foreign agents to

        somehow exclude foreign entities.

              If anything, American entities should be less entitled to conduct-

        based immunity than foreign entities. The United States has treated a

        defendant’s U.S. residency as a reason to deny immunity because

        defendants “who enjoy the protections of U.S. law ordinarily should be

        subject to the jurisdiction of our courts.” Yousuf, 699 F.3d at 767. That is

        all the more true of American corporations, which are not just protected

        by domestic law, but owe their very existence to it. CTS Corp. v.

        Dynamics Corp., 481 U.S. 69, 94 (1987). This rationale for exercising

        jurisdiction over U.S. residents does not apply to foreign entities like

        NSO, which is a creature of Israeli law subject to extensive regulation in

        Israel. JA93-96 ¶¶ 4-10, 17.



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              The district court flipped this reasoning on its head, suggesting that

        immunity should uniquely encourage the use of American corporations

        to perform foreign contracts. JA190. But this protectionist “Buy

        American” rationale contradicts the “comity among nations” that

        underlies common-law immunity. Yousuf, 699 F.3d at 769. Just like the

        United States, foreign governments employ private contractors “to collect

        foreign intelligence on [their] behalf.” Qatar, 982 F.3d at 595. Extending

        immunity to the American entities while withholding it from foreign

        entities hardly treats these foreign governments “as equals.” Jones,

        UKHL 26 ¶ 1.

                                       *      *     *

              This case does not belong in Virginia. NSO is an Israeli corporation

        whose only alleged role in this case was licensing its technology to a

        foreign country that allegedly misused the technology to monitor

        Plaintiff. NSO’s alleged conduct had no connection to Virginia, so it

        cannot constitutionally be sued for it in Virginia courts. Even if that were

        not so, this Court has recognized that alleged agents of foreign

        governments, such as NSO, cannot be sued in U.S. courts. For these

        reasons—plus others not yet addressed by the district court—Plaintiff’s



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        complaint was properly dismissed. And it was properly dismissed with

        prejudice, because Plaintiff did not ask the district court for leave to

        amend and does not ask this Court to reverse the district court’s denial

        of leave. JA203 n.15. This Court should affirm that decision.

                                       CONCLUSION

              This Court should affirm the dismissal of Plaintiff’s complaint,

        either for lack of personal jurisdiction or, in the alternative, for lack of

        subject-matter jurisdiction.

                                                    Respectfully submitted,

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                  STATEMENT REGARDING ORAL ARGUMENT

              NSO believes the district court’s dismissal for lack of personal

        jurisdiction is plainly correct and can be affirmed without oral argument.

        If the Court is inclined to grant oral argument on that issue, however,

        NSO respectfully requests oral argument on its cross-appeal from the

        district court’s decision on subject-matter jurisdiction, which presents an

        important question under Fourth Circuit precedent that has divided the

        federal courts of appeal.
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                           CERTIFICATE OF COMPLIANCE

              This brief complies with the type-volume limitation of Federal Rule

        of Appellate Procedure 32(a)(7)(B), because it contains 12,431 words,

        excluding the parts of the brief exempt by Federal Rule of Appellate

        Procedure 32(f).

              This brief complies with the typeface requirements of Federal Rule

        of Appellate Procedure 32(a)(5) and the type-style requirements of

        Federal Rule of Appellate Procedure 32(a)(6), because it has been

        prepared in a proportionally spaced typeface (14-point Century

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        Date: May 22, 2024

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